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1    BENJAMIN B. WAGNER
     United States Attorney
2    KAREN A. ESCOBAR
     Assistant U.S. Attorneys
3    2500 Tulare Street
     Fresno, California 93721
4    Telephone: (559) 497-4000
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7                     IN THE UNITED STATES DISTRICT COURT FOR THE

8                            EASTERN DISTRICT OF CALIFORNIA

9    UNITED STATES OF AMERICA,            ) 1:10-CR-00173-AWI
                                          )
10                     Plaintiff,         ) PRELIMINARY ORDER OF
                                          ) FORFEITURE
11              v.                        )
                                          )
12   MANUEL VASQUEZ,                      )
                                          )
13                     Defendant.         )
                                          )
14                                        )
15        Based upon the entry of plea entered by defendant Manuel

16   Vasquez, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

17        1.    Pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28

18   U.S.C. § 2461(c), defendant Manuel Vasquez’s interest in the following

19   property shall be condemned and forfeited to the United States of

20   America, to be disposed of according to law:

21              a. Approximately $7,562.00 in U.S. Currency;
22              b. All proceeds from the interlocutory sale1/ of the seized
                     1965 Ford Mustang, VIN: 5R07A128707;
23

24

25   1/ The parties stipulated to the interlocutory sale of the seized vehicles
        in the related civil forfeiture case United States v. Approximately
26      $7,562.00 in U.S. Currency, et al., 1:11-CV-01110-AWI-SKO. The
        interlocutory sale affected the vehicles listed in items (b) through
27      (j), and are now the substitute res.

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         c. All proceeds from the interlocutory sale of the seized
1           2008 Chevrolet Malibu, VIN: 1G1ZG57B88F193345;
2        d. All proceeds from the interlocutory sale of the seized
            2006 Lexus GS300, VIN: JTHBH96S765000098;
3        e. All proceeds from the interlocutory sale of the seized
            1962 Chevrolet Impala, VIN: 2186F302848;
4
         f. All proceeds from the interlocutory sale of the seized
5           1976 Harley Davidson Motorcycle, VIN: 9D18597H6;
         g. All proceeds from the interlocutory sale of the seized
6           1965 Ford Mustang, VIN: 5R07C177883;
7        h. All proceeds from the interlocutory sale of the seized
            2007 Pontiac G6, VIN: 1G2ZH58N974231581;
8        i. All proceeds from the interlocutory sale of the seized
            2008 Pontiac G6, VIN: 1G2ZM577184198639;
9
         j. All proceeds from the interlocutory sale of the seized
10          2007 Chevrolet Truck, VIN: 3GCEC13C07G549423;
         k. A sub res in the amount of $30,000.00 in lieu of the
11          real property located at 2421 Carolyn Lane, Kingsburg,
            California, Fresno County, APN: 394-203-25;
12
         l. A sub res in the amount of $39,000.00 in lieu of the
13          real property located at 2639 W. Fairmont Avenue #204,
            Fresno, California, Fresno County, APN: 424-222-24;
14       m. A sub res in the amount of $55,000.00 in lieu of the
            real property located at 4136 N. Thesta Street #5,
15          Fresno, California, Fresno County, APN: 436-350-06;
16       n. A sub res in the amount of $100,000.00 in lieu of the
            real property located at 2131 S. Van Ness Avenue,
17          Fresno, California, Fresno County, APN: 480-132-24-01;
         o. A sub res in the amount of $110,000.00 in lieu of the
18          real property located at 1904 Lee Street, Alexandria,
            Louisiana, Rapides Parish, APN: 24-0389-35143-000101;
19
         p. A sub res in the amount of $65,000.00 in lieu of the
20          real property located at 1740 Monroe Street, Alexandria,
            Louisiana, Rapides Parish, APN: 24-039-35186-000202;
21       q. Smith & Wesson, Model 37, .38 Special caliber revolver,
            initially identified in law enforcement reports with
22          Serial Number J537640, later determined to have Serial
            Number 33679;
23
         r. Carl Walther, Model P22, .22 Long Rifle caliber pistol,
24          Serial Number L220783 with an ammunition magazine;

25       s. Taurus, Model 66, .357 Magnum caliber revolver, Serial
            Number MD762391;
26       t. Smith & Wesson, Model 442-1, .38 Special caliber
            revolver, Serial Number CCC6099;
27
         u. Smith & Wesson, Model 60-7, .38 Special caliber
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                     revolver, Serial Number BSH3214;
1
                  v. Taurus, Model 5822, .357 Magnum caliber revolver, Serial
2                    Number SC728361;
                  w. Taurus, Model 85, .38 Special caliber revolver, Serial
3                    Number FH62037;
4                 x. Colt, Model 45 Colt, .45 Colt caliber revolver, Serial
                     Number P09304;
5                 y. Colt, Model Python, .357 Magnum caliber revolver, Serial
                     Number K15091;
6
                  z. Dan Wesson, Unknown Model, .44 Magnum caliber revolver,
7                    Serial Number SB003506;
                 aa. Ruger, Model SP101, 9mm Luger caliber revolver, Serial
8                    Number 572-33570
9                bb. Jennings, Model J-22, .22 Long Rifle caliber pistol,
                     Serial Number 484998 with an ammunition magazine;
10               cc. Taurus, Model 80, .38 Special caliber revolver, Serial
                     Number 770674;
11
                 dd. Jennings, Model J-22, .22 Long Rifle caliber pistol,
12                   Serial Number 741067 with an ammunition magazine;
                 ee. Israel Easpon Ind Uzi-A Pistol, Serial Number SA11968;
13
                 ff. SWD Cobray M-11 Pistol, Serial Number 860015814;
14               gg. Colt 45 Revolver, Serial Number P09304;
15               hh. Silencer, black in color, approximately 12 inches x 1-
                     1/4 inches;
16               ii. Silencer, black in color, approximately 10 inches x 1-
                     1/2 inches; and
17
                 jj. Silencer, black in color, approximately 11-1/2 inches x
18                   2 inches.

19
            2.    The above-listed assets constitute firearms involved in or
20
     used in a knowing violation, or in furtherance of a violation of 21
21
     U.S.C. § 841(a)(1), 841(b)(1)(A), 846, and 18 U.S.C. § 922(g)(1) and
22
     (2).
23
            3.    Pursuant to Rule 32.2(b), the Attorney General (or a
24
     designee) shall be authorized to seize the above-listed property.
25
     The aforementioned property shall be seized and held by the United
26
     States Marshals Service and/or the Bureau of Alcohol, Tobacco,
27
     Firearms and Explosives in its secure custody and control.
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1                          4.   a. Pursuant to 21 U.S.C. § 853(n) and 28 U.S.C. § 2461(c),

2    incorporating 21 U.S.C. § 853(n), and Local Rule 171, the United

3    States shall publish notice of the order of forfeiture.                             Notice of

4    this Order and notice of the Attorney General’s (or a designee’s)

5    intent to dispose of the property in such manner as the Attorney

6    General may direct shall be posted for at least 30 consecutive days

7    on the official internet government forfeiture site

8    www.forfeiture.gov.                     The United States may also, to the extent

9    practicable, provide direct written notice to any person known to

10   have alleged an interest in the property that is the subject of the

11   order of forfeiture as a substitute for published notice as to those

12   persons so notified.

13                              b. This notice shall state that any person, other than the

14   defendant, asserting a legal interest in the above-listed property,

15   must file a petition with the Court within sixty (60) days from the

16   first day of publication of the Notice of Forfeiture posted on the

17   official government forfeiture site, or within thirty (30) days from

18   receipt of direct written notice, whichever is earlier.

19                         5.   If a petition is timely filed, upon adjudication of all

20   third-party interests, if any, this Court will enter a Final Order of

21   Forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28

22   U.S.C. § 2461(c), in which all interests will be addressed.

23

24
     IT IS SO ORDERED.
25
26   Dated: May 1, 2013
     DEAC_Signature-END:
                                                       SENIOR DISTRICT JUDGE
27

28
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                                             5        Preliminary Order of Forfeiture
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